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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     GR Hospitality Management, LLC

2.   All other names debtor used       dba Best Western Graham
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           2      0      –      5      0        9    4         3   9     0

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       1707 Highway 16 South                                           1707 Highway 16 South
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Graham                              TX       76450              Graham                        TX       76450
                                       City                                State    ZIP Code           City                          State    ZIP Code


                                                                                                       Location of principal assets, if different
                                       Young                                                           from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State    ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor GR Hospitality Management, LLC                                                   Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.naics.com/search/




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,490,925 (amount subject to adjustment on
                                                           4/01/16 and every 3 years after that).

                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return or if
                                                             all of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                             Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                             form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                             Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District Northern District of Texas             When 06/30/2010           Case number 10-34471
     years?                                                                                              MM / DD / YYYY
                                                District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                District                                        When                      Case number
                                                                                                         MM / DD / YYYY




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Debtor GR Hospitality Management, LLC                                                    Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.




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Debtor GR Hospitality Management, LLC                                                    Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

 Part X:      Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 06/06/2016
                                                      MM / DD / YYYY

                                          X /s/ Kirnbir S. Grewal                                   Kirnbir S. Grewal
                                              Signature of authorized representative of debtor      Printed name

                                          Title President

18. Signature of attorney                X /s/ Joyce Lindauer                                                     Date     06/06/2016
                                            Signature of Attorney for Debtor                                              MM / DD / YYYY

                                            Joyce Lindauer
                                            Printed name
                                            Joyce W. Lindauer Attorney, PLLC
                                            Firm Name
                                            12720 Hillcrest Road, Suite 625
                                            Number          Street



                                            Dallas                                                     TX                   75230
                                            City                                                       State                ZIP Code


                                            Contact phone (972) 503-4033                 Email address


                                            21555700
                                            Bar number                                                 State




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             NORTHERN DISTRICT OF TEXAS
                                                                   DALLAS DIVISION
In re GR Hospitality Management, LLC                                                                                                Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                              $16,717.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $16,717.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                    06/06/2016                        /s/ Joyce Lindauer
                       Date                           Joyce Lindauer                             Bar No. 21555700
                                                      Joyce W. Lindauer Attorney, PLLC
                                                      12720 Hillcrest Road, Suite 625
                                                      Dallas, TX 75230
                                                      Phone: (972) 503-4033 / Fax: (972) 503-4034




    /s/ Kirnbir S. Grewal
   Kirnbir S. Grewal
   President
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 Fill in this information to identify the case:
 Debtor name        GR Hospitality Management, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional          unliquidated,   secured, fill in total claim amount and
                                contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total            Deduction       Unsecured
                                                                                             claim, if        for value       claim
                                                                                             partially        of
                                                                                             secured          collateral
                                                                                                              or setoff
1   Lakeland West Capital                              Real Property                          $2,742,154.11           $0.00 $2,742,154.11
    XXV, LLC
    5002 Lakeland Circle,
    Suite B
    Waco, TX 76710

2   Property Tax Lending,                              Taxes                                   $191,438.99            $0.00     $191,438.99
    L.P.
    Attn: Thomas J. Irons
    17950 Preston Road,
    Suite 650
    Dallas, TX 75252
3   Propel Financial Services                          Taxes                                   $187,152.52            $0.00     $187,152.52
    LLC
    PO Box 100350
    San Antonio, TX 78201



4   Propel Financial Services                          Taxes                                     $97,217.08           $0.00       $97,217.08
    LLC
    PO Box 100350
    San Antonio, TX 78201



5   Small Business                                     Real Property                              $4,969.93           $0.00        $4,969.93
    Administration
    Attn: Steve Park
    2120 Riverfront Drive,
    Suite 100
    Little Rock, AR 72202




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
  IN RE:   GR Hospitality Management, LLC                                           CASE NO

                                                                                    CHAPTER   11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/6/2016                                            Signature    /s/ Kirnbir S. Grewal
                                                                     Kirnbir S. Grewal
                                                                     President


Date                                                     Signature
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                        Attorney General of Texas
                        Bankruptcy Division
                        P O Box 12548
                        Austin, TX 78711-2548


                        Comptroller of Public Accts
                        Rev Acct Div/Bankruptcy Sec
                        PO Box 13528
                        Austin, TX 78711


                        Internal Revenue Service
                        1100 Commerce St.
                        MC 5030 DAL, Bankruptcy
                        Dallas, Texas 75242


                        Internal Revenue Service
                        PO Box 7346
                        Philadelphia, PA 19101-7346



                        Kirnbir S. Grewal
                        2128 Sunsprite Dr.
                        Union City, CA 94587



                        Lakeland West Capital XXV, LLC
                        5002 Lakeland Circle, Suite B
                        Waco, TX 76710



                        Manjit Randhawa
                        33156 Condur Dr.
                        Union City, CA 94587



                        Propel Financial Services LLC
                        PO Box 100350
                        San Antonio, TX 78201



                        Property Tax Lending, L.P.
                        Attn: Thomas J. Irons
                        17950 Preston Road, Suite 650
                        Dallas, TX 75252
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                        Richard Dafoe
                        Vincent Serafino Geary Waddell Jenevein
                        1601 Elm Street, Suite 4100
                        Dallas, TX 75201


                        Small Business Administration
                        Attn: Steve Park
                        2120 Riverfront Drive, Suite 100
                        Little Rock, AR 72202


                        Taxing Authority of Young County
                        PO Box 337
                        Graham, TX 76450



                        Texas Workforce Commission
                        101 E. 15th St.
                        Austin, TX 78778



                        U. S. Attorney
                        Main & Justice Bldg.
                        10th & Pennsylvania NW
                        Washington, DC 20530


                        U. S. Trustee's Office
                        1100 Commerce Street
                        Room 976
                        Dallas, TX 75242
